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                                                                            March 29, 2022
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Sanket J. Bulsara, U.S.M.J.
225 Cadman Plaza East
Courtroom 324N
Brooklyn, NY 11201-1804

       Re:     Macas v. Alex’s Auto Body 1 Inc., et ano.
               Case No.: 1:18-cv-7184 (RJD) (SJB)
               MLLG File No.: 120-2019_____________

Dear Judge Bulsara:

        This office represents the Defendants in the above-referenced case. See Docket Entry 17.
Defendants write jointly with Plaintiff to inform the Court that the parties have met and conferred
concerning this Court’s March 14, 2022 minute entry & Order regarding how the parties wish to
proceed with briefing any motion to enforce an oral settlement agreement. The parties have agreed
that Defendants will move by letter motion to enforce the oral settlement agreement reached on
the record on or before April 11, 2022, and that Plaintiff’s deadline to oppose the aforesaid letter
motion will be stayed sine die pending the conference currently scheduled for April 14, 2022 at
4:00 PM. The parties thank this honorable Court for its time and attention to this case.

Dated: Lake Success, New York
       March 29, 2022                         Respectfully submitted,
                                              MILMAN LABUDA LAW GROUP PLLC
                                              __/s Emanuel Kataev, Esq._______________
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